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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1170V
                                      Filed: April 12, 2017
                                         UNPUBLISHED

****************************
AUDREY M. ABBOTT,                        *
                                         *
                    Petitioner,          *      Joint Stipulation on Damages;
v.                                       *      Influenza;
                                         *      Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                      *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
                                         *
****************************
Daniel Henry Pfeifer, Pfeifer, Morgan & Stesiak, South Bend, IN, for petitioner.
Robert Paul Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

      On October 9, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she experienced a left shoulder injury following
administration of her October 24, 2012 influenza vaccination. Petition at 1-2. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

        On February 25, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On April 12, 2017, the parties filed the attached joint stipulation, stating that
a decision should be entered awarding compensation. Stipulation, § 7. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages. Pursuant to the terms stated in the attached Stipulation, the
undersigned awards the following compensation:
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        A lump sum of $160,502.39 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
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